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                       IN THE UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF COLUMBIA

                                                 :
                                                 :
 UNITED STATES OF AMERICA                        :    CASE NO.
                                                 :
           v.                                    :
                                                 :    VIOLATIONS:
 TYLER BENSCH,                                   :
                                                 :    18 U.S.C. § 1752(a)(2)
                         Defendant.              :    (Disorderly and Disruptive Conduct in a
                                                 :    Restricted Building or Grounds)
                                                 :
                                                 :    18 U.S.C. §§ 641, and 2
                                                 :    (Theft of Government Property)


                                    INFORMATION

       The United States Attorney charges that at all relevant times:

                                         COUNT ONE

       On or about January 6, 2021, in the District of Columbia, TYLER BENSCH did

knowingly, and with intent to impede and disrupt the orderly conduct of Government business and

official functions, engage in disorderly and disruptive conduct in and within such proximity to, a

restricted building and grounds, that is, any posted, cordoned-off, and otherwise restricted area

within the United States Capitol and its grounds, where the Vice President was and would be

temporarily visiting, when and so that such conduct did in fact impede and disrupt the orderly

conduct of Government business and official functions.

       (Disorderly and Disruptive Conduct in a Restricted Building, in violation of Title 18,
       United States Code, Section 1752(a)(2))
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                                         COUNT TWO

       On or about January 6, 2021, within the District of Columbia, TYLER BENSCH did

embezzle, steal, purloin, knowingly convert to his use and the use of another, and without

authority, sold, conveyed and disposed of any record, voucher, money and thing of value of the

United States and any department and agency thereof, that is, a United States Capitol Police riot

shield, which has a value of less than $1000.

       (Theft of Government Property, in violation of Title 18, United States Code, Section 641
       and 2)


                                                      Respectfully submitted,

                                                      MATTHEW M. GRAVES
                                                      United States Attorney
                                                      D.C. Bar No. 481052




                                                By:   _________________________
                                                      Melanie L. Alsworth
                                                      Ark. Bar No. 2002095
                                                      Trial Attorney, detailed to the
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